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IN THE UNITED STATES DISTRICT COURT F “— E UD
FOR THE MIDDLE DISTRICT OF TENNESSEE
AT NASHVILLE 2N12 JAN 30 PM 2: 49

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STACI LEE HUNTER, )
)
Plaintiff, )
)

VS. ) CIVIL ACTION NO.

) JURY DEMAND
ATHENA ENTERPRISES, LLC and )
MAHEESH “MIKE” PATEL, )
)
Defendant. )
COMPLAINT

 

COMES now your Plaintiff, and as facts in support of her Complaint, would show unto
the Court as follows:
JURISDICTION:
1. This Court has jurisdiction of Plaintiff's Fair Labor Standards (FLSA) claim
pursuant to 29 U.S.C. §216(b).
2. This Court has supplemental jurisdiction over the following claims, pursuant to 28
U.S.C. §1367, as they are so related to the FLSA claim, over which this Court has original

jurisdiction, that the Tennessee statutory and common law claims form part of the same case or

controversy:
a. Statutory and common law whistleblower claims;
b. Tennessee common law retaliatory/wrongful termination claim; and
c. Statutory and common law tortious breach of contract claims.

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VENUE:

3. This Honorable Court has venue of this action pursuant to 28 U.S.C. §1391(a)(2)
because Defendant Athena Enterprises LLC (“Athena”) and Maheesh (Mike) Patel (“Patel”)
reside and are located within the Middle District of Tennessee, and a substantial part of the
events giving rise to Plaintiff’s claims occurred in this District.

THE PARTIES:

4, Plaintiff is a citizen and resident of Rutherford County, Tennessee and has been at
times pertinent to the facts of this cause.

5. On information and belief, Plaintiff submits that Defendant Athena Enterprises,
LLC, (Athena) is a Tennessee domestic limited liability company and has been at times pertinent
to the facts of this cause, with a principal business address of 2521 Elm Hill Pike, Nashville, TN
37214,

6. On information and belief, Plaintiff submits that Defendant Maheesh “Mike”
Patel has been a resident of Davidson County, Tennessee at times pertinent to the facts of this
cause.

FACTS:

7. On information and belief, it is submitted that at times relevant to the instant
litigation, Defendant Athena has owned and/or operated a motel known as the Best Western
Airport Inn in Nashville.

8. On information and belief, it is submitted that at times relevant to the instant

litigation, Defendant Patel has possessed an ownership interest in Athena.

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9. On information and belief, it is submitted that at times relevant to the instant
litigation, Defendant Patel has been the manager of the Best Western Airport Inn (““BWAI”) in
Nashville.

10. | With reference to all facts alleged in this Complaint, and as will be presented in
evidence at trial, Defendant Patel has acted as the agent of Defendant Athena.

11. ‘Plaintiff became employed by Defendant Athena in April of 2010, as a front desk
clerk at BWAI.

12. At times relevant to the instant litigation, Plaintiff's immediate supervisor has
been Margaret McCarty, whose position has been front desk manager.

13. | Ms. McCarty’s supervisor is Defendant Patel.

14. Attached to this Complaint as Exhibit A is a true and exact copy of page 5 from
Defendant’s Employee Handbook, and which specifies Defendant’s purported policy regarding
the payment of overtime to non-exempt employees. The first and third paragraphs of
Defendant’s three-paragraph policy regarding overtime as stated in its Employee Handbook are
as stated as follows:

Employees who are considered non-exempt (i.e., paid on an hourly basis) are

entitled to overtime pay at the rate of one-and —one-half times their regular pay

for hours worked in excess of 40 hours per work week. They will not be paid

overtime for hours in excess of 8 per day, or for work on Saturdays, Sundays,

holidays, or regular days of rest, if the 40 hour requirement has not been met.

Payments to non-exempt employees will be made according to state and federal

wage and hour laws. No employee will work overtime without direct, written

authorization from his/her immediate supervisor.

15. At all times while Plaintiff was employed by Athena, she was a non-exempt

employee for FLSA wage and hour purposes.

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16. The federal law known as the “Fair Labor Standards Act of 1938” provides that
for non-exempt employees such as Plaintiff they shall be paid at a premium rate, also known as
overtime, of at least 1.5 times the regular hourly rate for any time worked by the employee in
excess of 40 hours per week. 29 U.S.C. §207(3)(7).

17. Shortly after she became employed by Athena, Plaintiff began working overtime
hours for which she should have been paid because she had worked more than 40 hours during
certain weeks.

18. After Plaintiff began working hours for which she should have been paid
overtime, she did not receive overtime compensation.

19. On approximately five occasions, Plaintiff approached Patel about Athena’s
failure to pay her and co-employees overtime which was owed pursuant to the FLSA and
Defendant’s written policy as stated in its Employee Handbook. Defendant Patel’s standard
response to Plaintiff was: “I gave you a chance by hiring you. I could just cut your hours or I
could just fire you and work your shift.”

20. In February 23, 2010, Plaintiff filed a complaint with the United States
Department of Labor (“DOL”) under the FLSA in which she alleged that Athena had failed to
pay her and co-workers overtime for weeks in which they had worked more than 40 hours, which
was in violation of the FLSA at 29 U.S.C. §207(a)(1).

21. U.S. Department of Labor Wage and Hour investigator, Emily Erspalmer
investigated the complaint filed by Plaintiff against Athena, and her investigation caused her to
conclude that Plaintiff and four co-employees were owed overtime by Athena pursuant to the
FLSA. The co-workers who were also owed overtime are: Jody Wilson; Margaret McCarty;

Daniel Howell; and Tim Lankford.

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22. On information and belief, it is submitted that Defendants knew, or at least
strongly suspected, that Plaintiff was the person who had made the complaint about unpaid
overtime to the DOL.

23. In July and October of 2011, Plaintiff's work hours were reduced by Defendants
for no apparent or logical reason, and when similarly situated co-employees’ hours were not
reduced.

24. At some point, Defendants were notified by the DOL that they had until August
29, 2011, in which to pay Plaintiff and co-employees overtime they were owed.

25. As of August 29, 2011, Plaintiff had not been paid overtime owed her by
Defendant Athena. This prompted her to approach Defendant Patel to inquire about the overtime
payment. He stated he thought that the payment had already been made, and then pretended to
be rummaging through some documents before delivering payment to Plaintiff a check for her
owed overtime in the approximate amount of $389.00.

26. On September 7, 2011, Plaintiff was given a written disciplinary warning because
she had called her employer at 4:45 p.m. on September 5, 2011, to state that she had a fever and
would not be in to work that day. A copy of the written warning is attached hereto as Exhibit B.

27. In Plaintiff's response to the written Disciplinary Warning dated September 7,
2011, she replied that she was home sick on September 5, 2011, with a fever. She also expressed
that she believed she was the victim of retaliation.

28. On information and belief, Plaintiff submits that her overtime payment that was
obtained as a result of the complaint she filed with the U. S. Department of Labor was among the

smallest of the payments made to the various employees.

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29. In approximately late October or early November of 2011, Plaintiff was assisting
Patel’s wife, Heena Patel, in storing food Ms. Patel had purchased for the breakfast bar at BWAI.
Ms. Patel stated she was upset about the complaint for overtime pay that had been made to the
DOL, and because of another complaint made to the Best Western parent company about the
condition of Defendants’ motel premises. Ms. Patel stated to Plaintiff that once the identity of
the person(s) who was making the complaints was known, that person(s) would be fired.

30. Plaintiff's regular hours to work were 7:00 a.m. to 3:00 p.m.

31, Plaintiff was not scheduled to work on Monday, November 7, 2011, or Tuesday,
November 8, 2011.

32. Plaintiff experienced a gastrointestinal illness during the evening hours of
November 8, 2011. She realized she would be unable to work on Wednesday, November 9,
2011. While quite ill, and at approximately 12:45 a.m. on November 9, 2011, Plaintiff called her
supervisor, Margaret McCarty, to advise that she would not be able to appear at work for her
shift that began at 7:00 a.m. Plaintiff informed Ms. McCarty of the nature of her illness. Ms.
McCarty instructed Plaintiff to keep her updated as to her condition, and that her shift for
November 9, 2011, would be covered.

33. At approximately 4:46 p.m. on November 9, 2011, Plaintiff called Ms. McCarty
at her home to tell her that she was still sick, she had no idea how long the virus would affect
her, and that she would call Ms. McCarty the following day. Ms. McCarty replied that it was
fine for Plaintiff to stay home and attempt to get well.

34. On Thursday, November 10, 2011, at approximately 10:21 am., Plaintiff called
Ms. McCarty at work to advise that she was still very ill and weak, but that she could try to come

in for a 3:00 p.m. shift that day, and that she could work the following day, which had previously

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been scheduled as an off day for Plaintiff in order to make up for time she had lost. Ms.
McCarty replied to Plaintiff that she did not want her to come to work to spread the virus around,
and that her next work day was the following Saturday, November 12, 2011, for which Plaintiff
was scheduled to begin work at 3:00 p.m. Ms. McCarty instructed Plaintiff to come in on
November 12, 2011, at approximately midday.

35. At approximately 12:18 p.m. on Thursday, November 10, 2011, Ms. McCarty left
a voice mail on Plaintiff's home phone telling her that her services were no longer needed by
Defendants, and that the termination decision was made by Defendant Patel, allegedly because a
customer/guest had complained about Plaintiff.

36. In any event, Plaintiff was terminated without any prior warning, and without
being asked if she had an explanation for any alleged complaint.

37. Plaintiff submits that the excuse for her termination provided by Ms. McCarty and

stated by her to have been determined by Mr. Patel is false and nothing but a pretext.

38.  Plaintiff’s rate of pay at the time she was terminated from her front desk clerk job
was $7.25 per hour.
39. As the direct and proximate result of Plaintiffs termination, she has suffered lost

pay, front and back, humiliation, embarrassment, and mental anguish.

40. Attached hereto as Exhibit C is a true and exact copy of pages 17 and 18 of
Defendant’s Employee Handbook which deal with sick leave. The following paragraph, relative
to the sick leave policy, appears at page 18 of the Employee Handbook:

The Company reserves the right to ask for a doctor’s certificate of illness or

disability, or require employees to submit to a medical examination by a qualified

physician selected by the Company. In the event a doctor’s certificate of illness is
required, any associated costs will be borne by the employer.

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41. Plaintiff was not asked for a doctor’s certificate of illness or disability, nor was
she requested to submit to a medical examination with reference to her missing work due to her
illness on November 9, 2011, and November 10, 2011.

42. In point of fact, Ms. McCarty told Plaintiff that her absence from work on
November 9, 2011, and November 10, 2011, due to her illness, had nothing to do with her
termination.

PLAINTIFF’S FLSA CLAIM:

43. Plaintiff incorporates by reference and re-alleges all allegations made in the
preceding paragraphs | through 42 herein.

44. The FLSA provides that it is a prohibited act for an employer to discharge or in
any other manner discriminate against any employee because such employee has filed any
complaint or instituted or caused to be instituted any proceeding under or related to the Fair
Labor Standards Act of 1938. 29 U.S.C. §215(a)(3).

45. Defendants’ termination of Plaintiff was done in retaliation for Plaintiff's having
successfully initiated and pursued a complaint for overtime owed Plaintiff and co-workers by
Defendant Athena.

46. Pursuant to the FLSA at 29 U.S.C. §216(b), Plaintiff is entitled to back pay, plus
interest, plus an additional equal amount as liquidated damages. Plaintiff also seeks front pay
pursuant to the same statute in an amount to be determined by the Court.

47. Plaintiff seeks an award of attorney’s fees and costs, pursuant to 29 U.S.C.

§216(b).

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PLAINTIFF’S COMMON LAW RETALIATORY/
WRONGFUL TERMINATION CLAIM AGAINST ATHENA:

48. Plaintiff incorporates by reference and re-alleges all allegations made in the
preceding paragraphs | through 47 herein.

49. __ By filing a charge or complaint with the U. S. Department of Labor for
Defendants’ violation of the FLSA with reference to overtime owed Plaintiff and co-workers,
Plaintiff engaged in activity protected by the FLSA at 29 U.S.C. §215(a)(3).

50. Plaintiff was terminated as the direct and proximate result of her having attempted
to assert her rights and the rights of co-workers to overtime pay pursuant to the FLSA. Thus, her
termination constitutes a violation of the clear public policy embodied in the FLSA.

51. — Alternatively, Plaintiff submits that a substantial factor in Defendants’ decision to
terminate her was her exercise of her rights pursuant to the FLSA.

52. The violation of Plaintiff's rights, as guaranteed by the FLSA, was done
intentionally by Defendant Patel acting individually and on behalf of Athena.

53. Plaintiff submits that she is entitled to compensatory damages in the amounts of
back pay and front pay which she is owed, along with compensation for humiliation,
embarrassment and mental anguish. She demands a judgment against Athena for her common
law retaliatory discharge claim for $500,000.00 in compensatory damages and $500,000.00 in
punitive damages.

PLAINTIFF’S STATUTORY AND COMMON LAW
WHISTLEBLOWER CLAIMS AGAINST ATHENA:

54. Plaintiff incorporates by reference and re-alleges all allegations made in the

preceding paragraphs 1 through 53 herein.

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55. At times pertinent to the facts of this cause, Plaintiff was an employee of
Defendant Athena which was Plaintiffs employer for purposes of the Tennessee Public
Protection Act (TPPA) as defined at T.C.A. §50-1-306(1) and (2).

56. | The FLSA is a federal civil statute applicable in the state of Tennessee that is
intended to protect the public health, safety and welfare.

57. Plaintiff was terminated by Defendants in retaliation for her having reported,
opposed and objected to Defendants’ violation of the FLSA with reference to Plaintiff and her
co-workers.

58. Defendants’ termination of Plaintiff was solely for her reporting and opposing
Defendants’ failure to comply with the FLSA.

59. Alternatively, Plaintiff submits that her reporting to the U. S. Department of
Labor Defendants’ nonpayment of overtime to her and co-workers, and her opposition to the
unlawful treatment she and co-workers received from Defendants constituted substantial factors
in Defendants’ decision to discharge Plaintiff.

60. As the direct and proximate result of Defendants’ violation of the TPPA, Plaintiff
seeks compensatory damages against Athena in the amount of $500,000.00 for back pay with
interest thereon; front pay in an amount to be determined by the Court; damages for humiliation,
embarrassment and mental anguish; and an additional amount as attorney’s fees pursuant to
T.C.A. §50-1-304(d)(2).

61. For Plaintiff's common law whistleblower claim, she seeks a judgment against
Athena for back pay plus interest; front pay, damages for humiliation, embarrassment, and

mental anguish. Plaintiff seeks a judgment of $500,000.00 in compensatory damages. Plaintiff

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also seeks an award of $500,000.00 in punitive damages against Defendant Athena with
reference to her common law whistleblower claim.

PLAINTIFF’S STATUTORY AND COMMON LAW
TORTIOUS INTERFERENCE CLAIMS AGAINST DEFENDANT PATEL:

62. Plaintiff incorporates by reference and re-alleges all allegations made in the
preceding paragraphs 1 through 61 herein.

63. From the date she was hired by Defendant Athena through the date of her
termination, Plaintiff was a party to a legal contract of employment with Athena.

64. Defendant Patel was aware of Plaintiff's legal contract of employment with
Athena at all times pertinent to the facts of this cause.

65. Defendant Patel maliciously intended to and did induce Athena to breach its
contractual obligations to Plaintiff simply because she opposed and refused to remain silent
about Defendants’ violation of the FLSA with reference to overtime she and co-workers were
owed.

66. Due to the actions of Defendant Patel, Athena did breach its contract of
employment with Plaintiff.

67. | Athena’s breach of its employment with Plaintiff was caused by the intentional
actions of Defendant Patel.

68. Defendant Patel acted with malice toward Plaintiff in that he engaged in a willful
violation of a known right possessed by her.

69. The actions of Defendant Patel were detrimental to the economic and other
interests of Defendant Athena.

70. With reference to Plaintiff’s termination, Defendant Patel acted for his own best

interests instead of the best interests of Defendant Athena.

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71. Defendant Patel by virtue of Plaintiff's termination violated T.C.A. §47-50-109
by inducing and procuring the breach of Plaintiff's employment contract with Athena and he is
therefore liable for treble the amount of damages resulting from or incident to the breach of
Plaintiffs employment contract.

72. As the direct and proximate result of Defendant Patel’s violation of T.C.A. §47-
50-109, Plaintiff seeks an award of compensatory damages of $500,000.00 for back pay with
interest thereon; front pay; damages for humiliation, embarrassment and mental anguish; and an
award of an additional sum representing trebling the compensatory damages Plaintiff suffered by
Defendant Patel’s procurement of the breach of her employment contract.

73. With reference to Plaintiffs common law tortious interference of her employment
contract claim against Defendant Patel, Plaintiff seeks compensatory damages in the amount of
$500,000.00 for back pay; front pay; damages for humiliation, embarrassment, and mental
anguish, and she seeks an additional amount of $500,000.00 in punitive damages against
Defendant Patel. |

Respectfully submitted,

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& STEVEN WALDRON, BPR #2767
Attorney for Plaintiff

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